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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________

JAIMARIA BODOR,                           :
Individually and on behalf of all others  :
similarly situated,                       :
                      Plaintiffs,         :
                                          :
                  v.                       :                 Civil No. 5:19-cv-05787-JMG
                                          :
MAXIMUS FEDERAL SERVICES, INC.            :
                  Defendant.              :
__________________________________________


                                            ORDER

       AND NOW, this 8th day of October, 2021, upon consideration of the Plaintiff’s Motion

to Unseal the Summary Judgment Record (ECF No. 68), Defendant’s Opposition to Plaintiff’s

Motion to Seal (ECF No. 78), Plaintiff’s Reply in Support of Motion to Unseal (ECF No. 81),

and Defendant’s Sur-Reply in Further Support of its Opposition (ECF No. 84), IT IS HEREBY

ORDERED THAT: Plaintiff’s Motion to Unseal (ECF. No. 68), IS GRANTED IN PART as

follows:

    1. Defendant’s filings and attachments shall be unsealed except those that contain trade

       secrets or other confidential business information.

    2. No later than October 29, 2021, the parties shall confer and submit a supplemental

       filing indicating which documents should remain sealed in accordance with the

       standards discussed in In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924

       F.3d 662 (3d Cir. 2019) 1, and how these sealed documents should be isolated from



1
    “[T]here is a presumptive right of public access to pretrial motions of a nondiscovery nature,
whether preliminary or dispositive, and the material filed in connection therewith.” Goldstein v.
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       the public documents. The Court shall then issue a subsequent Order as to the

       specific documents (or portions thereof) that shall remain sealed.

   3. No later than December 3, 2021, counsel shall file on ECF those portions of the

       appendix for which the request to seal has been denied.



                                                        BY THE COURT



                                                        /s/ John M. Gallagher
                                                        JOHN M. GALLAGHER
                                                        United States District Court Judge




Forbes (In re Cendant Corp.), 260 F.3d 183, 192-93 (3d Cir. 2001). “Protecting th[is] access right
in class actions promotes class members' confidence in the administration of the case. Additionally,
the right of access diminishes the possibility that injustice, incompetence, perjury, or fraud will be
perpetrated against those class members who have some stake in the case but are not at the
forefront of the litigation. Finally, openness of class actions provides class members with a more
complete understanding of the class action process and a better perception of its fairness.” Id. at
193. “The party seeking to overcome the presumption of access bears the burden of showing: (1)
the interest in secrecy outweighs the presumption; (2) the material is the kind of information that
courts will protect; and (3) disclosure will work a clearly defined and serious injury to the party
seeking closure.” In re Avandia Mktg., Sales Practices & Prods. Liab. Litig., 924 F.3d 662, 672
(3d Cir. 2019). Documents containing trade secrets or other confidential business information may
be protected from disclosure. “We have framed the inquiry as whether the need for secrecy
outweighs the presumption of access that normally attaches to such documents.” The potential
effects of the disclosure of business information that might harm the litigant's competitive standing
may in some cases meet the burden of [justifying keeping] the judicial record under seal. Leucadia,
Inc. v. Applied Extrusion Technologies, Inc., 998 F.2d 157, 166 (3d. Cir. 1993). (quotation marks
omitted).
